                   CASE 0:22-cr-00076-KMM-TNL Doc. 8 Filed 06/08/22 Page 1 of 1

                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                       )            COURTROOM MINUTES - CRIMINAL
                                                )              BEFORE: JOHN F. DOCHERTY
                       Plaintiff,               )                  U.S. Magistrate Judge
                                                )
 v.                                             )    Case No:              22-cr-76 (KMM/TNL)
                                                )    Date:                 June 8, 2022
William Charles Saffold (2),                    )    Videoconference
                                                )    Time Commenced:       1:16 p.m.
                       Defendant.               )    Time Concluded:       1:30 p.m.
                                                )    Time in Court:        14 minutes

APPEARANCES:
 Plaintiff: Allen Slaughter, Assistant U.S. Attorney
 Defendant: Elizabeth Duel
                                X CJA          X Counsel to be appointed

Date Charges Filed: April 26, 2022          Offense: conspiracy to use, carry, and brandish firearms during and in
                                            relation to a crime of violence; aiding and abetting carjacking;
                                            brandishing a firearm during and in relation to a crime of violence;
                                            aiding and abetting interference with commerce by robbery
 X Advised of Rights

on    X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Wednesday, June 15, 2022 at 2:30 p.m. before U.S. Magistrate Judge John F. Docherty via
video conference for:
  X Detention hrg       X Arraignment hrg

X Government moves to unseal the entire case.        X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                          s/nah
                                                                                      Signature of Courtroom Deputy
